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 7 United States of America
 8

 9                               IN THE UNITED STATES DISTRICT COURT

10                                  EASTERN DISTRICT OF CALIFORNIA

11
     UNITED STATES OF AMERICA,                           CASE NO. 2:16-CR-00038 MCE
12
                                  Plaintiff,             STIPULATION AND ORDER CONTINUING
13                                                       HEARING AND BRIEFING DATES
                            v.
14                                                       DATE: August 9, 2018
     JAMAL SHEHADEH,                                     TIME: 10:00 a.m.
15                                                       COURT: Hon. Morrison C. England, Jr.
                                  Defendant.
16
17
18                                               STIPULATION

19          Counsel for defendant Jamal Shehadeh has requested to continue the briefing and hearing

20 schedule on the motion to withdraw Shehadeh’s guilty plea and restitution in this case, in order to have
21 additional time to review materials current counsel represents that he has obtained from Jamal
22 Shehadeh’s prior counsel. After discussion, the government has agreed to stipulate to the revised
23 schedule set forth below, with the understanding that the government will object to any further
24 continuances of these dates, absent extraordinary circumstances. To be clear, the government opposes
25 defendant’s effort to withdraw his guilty plea and preserves all procedural and substantive objections
26 and responses to the motion.
27          The parties therefore hereby stipulate and jointly request that the Court order the following

28 revision to the current briefing and hearing schedule:

      STIPULATION REGARDING BRIEFING AND HEARING         1
30    DATES – U.S. V. JAMAL SHEHADEH, 2:16-CR-38 MCE
           Case 2:16-cr-00038-DC-CKD Document 324 Filed 07/20/18 Page 2 of 2


 1         Defendant’s Motion to Withdraw Guilty Plea

 2         1.      Government’s opposition due: August 16, 2018

 3         2.      Defendant’s reply due: August 30, 2018

 4         3.      Hearing: September 6, 2018

 5         Restitution

 6         1. Restitution hearing: September 20, 2018

 7         IT IS SO STIPULATED.

 8
      Dated: July 18, 2018                                   MCGREGOR W. SCOTT
 9                                                           United States Attorney
10
                                                             /s/ CHRISTOPHER S. HALES
11                                                           MICHAEL D. ANDERSON
                                                             CHRISTOPHER S. HALES
12                                                           Assistant United States Attorneys
13
14    Dated: July 18, 2018                                   /s/ DAVID FISCHER
                                                             DAVID FISCHER
15
                                                             Counsel for Defendant
16                                                           JAMAL SHEHADEH

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18
                                                       ORDER
19
           IT IS SO ORDERED.
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     Dated: July 19, 2018
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      STIPULATION REGARDING BRIEFING AND HEARING         2
30    DATES – U.S. V. JAMAL SHEHADEH, 2:16-CR-38 MCE
